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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


                                            :
CLEAN LABEL PROJECT                         :
FOUNDATION                                  :
                                            :    Case No. Case No. 20-cv-03229-RC
Plaintiff,                                  :
                                            :    Hon. Rudolph Contreras
         v.                                 :
                                            :
GARDEN OF LIFE, LLC,                        :
                                            :
Defendant.                                  :


               REPLY IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
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                                         INTRODUCTION

       Plaintiff argues that, by virtue of its mission to bring truthful information to consumers, it

has standing to sue under the CPPA “whenever untruth enters the marketplace.” Opp. at 10

(emphasis added). The startling overbreadth of that assertion demonstrates just how far removed

Plaintiff Clean Label Project Foundation is from having Article III standing to bring this lawsuit.

It has not even asserted a “perceptible impairment” of its ability to provide services or an “actual

inhibition of daily operations” attributable to Defendant’s conduct, as is required. Opp. at 5-6;

Env’t Working Grp. v. U.S. Food & Drug Admin., 301 F. Supp. 3d 165, 170 (D.D.C. 2018).

Indeed, Plaintiff did not even purchase the Products. Opp. at 6 n.7. Its main argument is that it

has statutory standing, but as the Supreme Court held in Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

1547-48 (2016), that is not a substitute for the injury-in-fact requirement of Article III. Mot. at

11. The Complaint should be dismissed under Fed. R. Civ. P. 12(b)(1) for lack of standing.

       The restriction on Defendant’s speech that Plaintiff seeks to impose by this lawsuit is no

less breathtaking, and no less unconstitutional. Plaintiff seeks to regulate Garden of Life’s

ability to describe its own business philosophy, on its own website, based on non-public

standards of product purity, which Plaintiff has invented out of whole cloth and now seeks to

enforce by means of a strict liability statute, in its capacity as a “private attorney general,” even

though it was not injured by the speech at issue. Mot. at 13-16. All of this, and Plaintiff

nonetheless argues that its efforts should be subject to no constitutional scrutiny at all. Opp. at

12-14. That is incorrect. The proposed restriction is subject to strict scrutiny as a content-based

regulation of non-commercial speech. Mot. at 12, 13; Barr v. Am. Ass’n of Political Consultants,

Inc., 140 S. Ct. 2335, 2346 (2020). At a minimum, it is subject to intermediate scrutiny under

Central Hudson Gas & Elec. Corp. v. Public Serv. Comm’n, 447 U.S. 557, 562-64 (1980). Mot.

at 13. Plaintiff has not even attempted to articulate why either of these tests is satisfied. Opp. at

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12-19. The Complaint should be dismissed as seeking to violate Garden of Life’s First

Amendment right to freedom of speech.

       Plaintiff also concedes that federal regulatory agencies are responsible for both the

permissible levels of the substances in this case, and the disclosure of them, i.e. “when to be

silent on the presence of toxicants and when to acknowledge the presence of toxicants.” Opp. at

23-24. (emphasis added). The Court should therefore decline to hear this case under the doctrine

of primary jurisdiction. Mot. at 20-24. Plaintiff argues that the Court can simply rule on

whether the speech is misleading (Opp. at 21), but that is not possible in light of Plaintiff’s

theory of the case. That is, the only reason Plaintiff alleges that the speech is misleading is

because the supposed levels of contaminants is unsafe. The regulatory agencies have held that

these same levels are not unsafe, and thus Plaintiff is asking the Court to reach a different

conclusion. The Court should decline Plaintiff’s invitation to supplant the regulatory agencies

that are already considering these exact issues on an ongoing basis.

I.     Plaintiff Lacks Article III Standing Because It Has Not Alleged Injury-In-Fact.

       Plaintiff concedes that it must have standing under Article III of the Constitution in order

to proceed with this litigation. Opp. at 3 (“In examining Article III standing, Plaintiff agrees that

it must show that it has suffered an injury-in-fact.”). Yet it makes no showing that it experienced

the type of injury necessary for organizational Article III standing. It shows neither a

“perceptible impairment” of its ability to provide services nor an “actual inhibition of daily

operations” attributable to Defendant’s conduct. See e.g., Env’t Working Grp. v. U.S. Food &

Drug Admin., 301 F. Supp. 3d 165, 170 (D.D.C. 2018); Turlock Irrigation Dist. v. FERC, 786

F.3d 18, 24 (D.C. Cir. 2015); Ctr. for Law + Educ. v. Dep’t of Educ., 396 F.3d 1152, 1162 n.4




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(D.C. Cir. 2005).1 It does not even argue that it purchased the Products, noting only that it

“requested and authorized” the purchase without any reference to who supplied the funds for the

purchases, initiated the transactions, or received (much less consumed) the goods. Opp. at 6 n.7.

Instead, Plaintiff only argues that its mission‒‒to “educate consumers with regard to food

labeling truth and transparency, allowing them to make data-based decisions”‒‒was somehow

harmed because Defendant’s statements “impede[] the ability of D.C. consumers to make such

educated data-based decisions.” Opp. at 5, 6.

         That sort of abstract injury is not enough, and it has been rejected in the cases above. In

Center for Law + Education, for example, two advocacy groups challenged the composition of a

committee assembled by the Department of Education to propose regulations to implement the

No Child Left Behind Act, on the basis that the committee did not adequately represent parents’

and students’ interests. 96 F.3d at 1161–62. The D.C. Circuit affirmed the District Court’s

dismissal for lack of the standing on the basis of no injury-in-fact, noting that “‘[C]onflict

between a defendant’s conduct and an organization’s mission is alone insufficient to establish

Article III standing’” and “‘[f]rustration of an organization’s objectives is the type of abstract

concern that does not impart standing.’” Id. at 1161-62 (emphases added) (quoting Nat’l Treas.

Employees Union v. United States, 101 F.3d 1423, 1429 (D.C.Cir.1996)). That is the only injury

that Plaintiff asserts here, and it should be rejected for the same reason. See also Food & Water

Watch, Inc. v. Vilsack, 808 F.3d 905, 921 (D.C. Cir. 2015) (“FWW has alleged nothing more

than an abstract injury to its interests that is insufficient to support standing.”).


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  Plaintiff tries to distinguish these case on their facts. Opp. at 5 (attempting to distinguish Environmental Working
Group because the organization’s allegations “were of past injury, rather than real or immediate injury”); id. at 6
(attempting to distinguish Center for Law + Education because “the No Child Left Behind Act is void of any
reference to organizational interests. Thus the concern of the organization was procedurally abstract.”). These
supposed distinctions are immaterial. The cases are cited in the Motion because they reflect the governing standard‒
‒organizational standing requires perceptible impairment in the form of inhibition of daily operations‒‒which
Plaintiff has not met in this case.


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       Perhaps aware of this, Plaintiff also argues that it has Article III standing because it

satisfies the statutory criteria for standing under the CPPA. Opp. at 9-12. But that argument‒‒

that a statute can create Article III standing where it did not exist otherwise‒‒was rejected by the

U.S. Supreme Court in Spokeo, Inc. v. Robins, where the Court explained that “[i]t is settled that

Congress cannot erase Article III’s standing requirements by statutorily granting the right to sue

to a plaintiff who would not otherwise have standing.” 136 S. Ct. 1540, 1547-48 (2016). What

is true of Congress is a fortiori true of the D.C. City Council. It is therefore no surprise that

Plaintiff cites zero federal cases in support of its standing argument.

       Indeed, as set forth in Defendant’s Motion, Plaintiff’s “statutory-Article-III-standing”

argument has been rejected by another Court in this District, on similar facts. Mot. at 10; Beyond

Pesticides v. Dr Pepper Snapple Grp., Inc., No. CV 17-1431, 2019 WL 2744685 (D.D.C. July 1,

2019) (rejecting the argument that organizational plaintiff had standing under D.C. Code § 28-

3905(k)(1)(c) because “Article III standing requires a concrete injury even in the context of a

statutory violation”) (quoting Spokeo, 136 S. Ct. at 1547-49). Plaintiff tries to distinguish

Beyond Pesticides based on factual irrelevancies such as the number of tests performed by the

plaintiff in that case, and the presence of an “all natural” claim. Opp. at 7-8. These attempts fail.

What matters for purpose of Article III standing is not the number of tests performed or the

content of the alleged false advertising but that Beyond Pesticides‒‒like this case‒‒involved a

supposed non-profit organization asserting that the CPPA gave it standing to sue despite the fact

that it had not been injured. The Beyond Pesticides court rejected that argument under Spokeo.

The same result follows here.

       Plaintiff argues that although Grayson v. AT&T Corp., 15 A.3d 219 (D.C. 2011),

confirms the D.C. Court of Appeals’ longstanding practice of applying Article III standing




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requirements, that policy was “overhauled” by the Consumer Protection Amendment Act of

2012. Opp. at 4 (citing Bimbo Bakeries, 2015 D.C. Super. Lexis. 5 No. 2013 CA 006548 B

2015). But the case cited, Bimbo Bakeries, is not binding in this federal court, which is bound by

(and indeed, derives its authority from) Article III. Nor is it persuasive because, as the decision

in Bimbo Bakeries itself notes, the 2012 amendments “did not overrule the Grayson holding,”

but rather provided “the courts with a variety of ways to consider standing options that satisfy the

prudential standing principles for non-profit and public interest organizations acting as private

attorneys general.” Bimbo Bakeries, 2015 D.C. Super. Lexis. 5 No. 2013 CA 006548 B 2015) at

*7. Accordingly, both the latest decision from the D.C. Court of Appeals (Grayson) and the

decisions of courts in this District (Beyond Pesticides) support application of Article III standing

in this case, and refute the idea that Plaintiff has satisfied it because of changes to the CPPA.

        Lastly, if there were any doubt that Plaintiff’s claim should be dismissed for lack of

Article III standing, it evaporates when one considers the awesome scope of the activity that

Plaintiff asserts confers it with standing. Viz., Plaintiff alleges that it has standing to sue under

the CPPA “whenever untruth enters the marketplace.” (Opp. at 10) (emphasis added). This

theory, which in practice would mean that Plaintiff has standing whenever it says that “untruth

has entered the marketplace,” would render Article III meaningless. Defendant therefore

requests that, consistent with Article III and precedents interpreting it, the Court dismiss the case

with prejudice for lack of standing.

II.     Enforcing the CPPA In the Manner Urged By Plaintiff Would Violate Defendant’s
        First Amendment Right to Freedom of Speech.

        What Plaintiff is attempting to do in this case is to legislate what can and cannot be said

by Garden of Life, about itself, on the “about us” page of its own website, according to

unspecified standards of purity that Plaintiff unilaterally invented. If implemented by this Court



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under the auspices of the CPPA, this would be a purely content-based limitation on Defendant’s

non-commercial speech. Because it does not satisfy strict or even intermediate scrutiny, the

Complaint should be dismissed as an impermissible attempt to abridge Garden of Life’s First

Amendment right to freedom of speech. Mot. at 12-17.

        Plaintiff’s primary argument in opposition to Defendant’s First Amendment challenge is

that it has brought a claim under a valid statute, and so the “the only question to be answered is

whether Plaintiff has met the elements of the D.C. CPPA”. Opp. at 2; see also id. at 13, 17, 18.

        That is not how constitutional law works. Defendant’s argument is not that the CPPA is

facially invalid. It is that, if the Court applies the CPPA in the way that Plaintiff seeks, i.e., to

limit the speech Plaintiff challenges in this case on the basis of Plaintiff’s allegations, the

resulting Order will violate Defendant’s First Amendment right to free speech. Mot. at 12. This

is a well-recognized form of constitutional challenge, and in fact numerous seminal free-speech

cases were framed in this manner. In New York Times v. Sullivan, for example, the Plaintiff sued

the Times under Alabama’s defamation law on the basis that it had printed false statements about

him. 376 U.S. 254 (1964). The Times did not argue that Alabama’s defamation law was entirely

invalid; it argued (and the Supreme Court agreed) that the law could not constitutionally be

applied to it in manner urged by the plaintiff. Id. at 268. See also Richard H. Fallon, Jr., As-

Applied and Facial Challenges and Third-Party Standing, 113 HARV. L. REV. 1321, 1328

(2000) (“As-applied challenges are the basic building blocks of constitutional adjudication.”).

The question in this case is not, as Plaintiff repeatedly argues, merely whether Plaintiff can show

a violation of the CPPA. (Opp. at 2, 13, 17, 18). It is whether, if the Court were to apply the

CPPA in the manner sought by Plaintiff, the resulting limitation on Defendant’s speech would




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violate its First Amendment right to freedom of speech. The answer is yes, under any possible

form of constitutional scrutiny.

       A.      Plaintiff Seeks To Impose A Content-Based Restriction On Non-Commercial
               Speech That Does Not Satisfy Strict Scrutiny.

       Plaintiff admits that content-based limitations are subject to strict scrutiny, even where

the speech in question is commercial speech. Opp. at n. 16 (noting that Barr v. Am. Ass’n of

Political Consultants, Inc., 140 S. Ct. 2335, 2346 (2020), Int’l Outdoor, Inc. v. City of Troy,

Mich., 974 F.3d 690, 707-08 (6th Cir. 2020), and Sorrell v. IMS Health Inc., 564 U.S. 552, 565

(2011), all apply strict scrutiny to commercial speech). Plaintiff also agrees that commercial

speech “requires . . . propos[ing] a commercial transaction.” Opp. at 16. And, it accepts the

principle that First Amendment protection extends to political, social, economic, education and

religious ends, which cannot normally be restricted by the State without satisfying strict scrutiny.

Opp. at 12 (citing Roberts v. U.S. Jaycees, 468 U.S. 609, 622 (1984)). Nonetheless, Plaintiff

argues that strict scrutiny should not apply in this case because (1) Defendant has not challenged

the constitutionality of the CPPA itself, and (2) the challenged speech is commercial.

       These arguments fail. The first argument is addressed above, and it misses the point that

Defendant’s challenge is to the way in which Plaintiff proposes that the Court enforce the statute,

not to the statute itself. With respect to commercial speech, Plaintiff’s only argument is that “the

very point and purpose of Defendant’s website is to facilitate sales and promotion of its

products.” Opp. at 16. That proves too much. At some level, all businesses have an interest in

facilitating sales and promoting products, but that does not mean that all speech made by

businesses is commercial speech. If it were thus, there would be no need to analyze speech at

all; one could merely look to the identity of the speaker. That is not the law. In Nike, Inc. v.

Kasky, 539 U.S. 654 (2003), for example, the Supreme Court did not simply assume that Nike’s



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speech was commercial speech because Nike was a for-profit company, but rather considered the

substance and content of the statements themselves.

         When that exercise is done in this case, one is left with statements about Garden of Life’s

business philosophy, made on the “about us” page of the Garden of Life website. Mot. at 13.

Plaintiff does not dispute this, does not show any statement that proposes a transaction, and does

not argue that any of the challenged statements even appears on a page from which a purchase

can be made. Opp. at 16 (admitting that the challenged statements are from the “about us”

page).2 Indeed, Plaintiff describes Defendant’s speech as educational, noting that “Defendant’s

website attempts [to] educate on ‘the Science of Whole Food’ explaining that how the body was

made to process foods and which foods have the ability to ‘impact and empower extraordinary

health.’” Opp. at 8 (emphasis added). The speech is therefore not commercial speech, even

according to Plaintiff, and the proposed limitation on it is subject to strict scrutiny.

         Even if the speech is considered commercial speech, strict scrutiny still applies because

the restriction is content-based. Barr, 140 S. Ct. at 2346; International Outdoor, Inc., 974 F.3d

at 707-08; Sorrell, 564 U.S. at 565 (2011). Plaintiff concedes the principle, as noted above, and

makes no argument that the proposed restriction is content-neutral. Instead, it argues that strict

scrutiny cannot apply because Defendant has not challenged the validity of the statute itself.

Opp. at 13 (asserting that “Defendant is arguing that Plaintiff is misapplying a valid statute.”)

That argument misses the mark because, as explained above, Defendant is arguing that, if the

Court were to apply the CPPA in the manner sought by Plaintiff‒‒if it were to grant, for

example, the requested “injunction to halt Garden of Life’s false and misleading marketing and


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  Plaintiff argues that it is “irrational” to consider whether Defendant’s packaging is not proposing a commercial
transaction. Opp. at 16. But the section of the Complaint that lists the challenged claims, entitled “Garden of Life’s
Marketing Is Unconscionably Misleading and Omits Materials Facts,” does not include any label statements.
Compl. ¶ 88-96.


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sale of Garden of Life’s Products” (Compl. ¶ 35)‒‒Defendant’s First Amendment right to

freedom of speech would be violated.

       Plaintiff makes no argument that, if strict scrutiny applies, the proposed restriction meets

that standard. Accordingly, because strict scrutiny applies to Plaintiff’s proposed content-based

regulation on non-commercial speech, and Plaintiff has failed to articulate why it is narrowly

tailored to achieve a compelling government interest, the Complaint should be dismissed.

       B.      Plaintiff’s Proposed Limitation On Defendant’s Speech Also fails To Satisfy
               Central Hudson and Zauderer.

       As set forth in the Motion, even if the challenged speech is considered to be commercial,

and the proposed restriction is considered content-neutral, Plaintiff still must show that (1) the

asserted governmental interest is substantial, (2) the restriction directly and materially advances

that interest, and (3) the restriction is narrowly tailored. Mot. at 13 (citing Central Hudson Gas

& Elec. Corp. v. Public Serv. Comm’n, 447 U.S. 557, 562-64 (1980)). Alternately, even if the

lawsuit is viewed as an effort to compel speech in the form of disclosures or unspecified

“corrective advertising,” Plaintiff still must show that the compelled disclosures are (i) purely

factual and uncontroversial; (ii) reasonably related to a substantial government interest, and

(iii) neither unjustified nor unduly burdensome. Id. (citing Zauderer v. Office of Disciplinary

Counsel, 471 U.S. 626, 651 (1985)).

       In its Opposition, Plaintiff makes no effort to show how either of these tests is met,

thereby conceding that its proposed restriction fails any potential level of constitutional scrutiny.

See Opp. at 14 (reciting the Central Hudson test but arguing that it does not apply); id. at 14-15

(arguing that Zauderer should apply “if the Court acknowledges Defendant’s First Amendment

argument,” but making no argument that the requirements are satisfied). Instead, Plaintiff argues

that no constitutional scrutiny is appropriate here because (1) the statute itself is not invalid, and



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(2) Plaintiff has alleged that the speech in question is misleading. Opp. at 14, 15. The former

argument is incorrect, as discussed above, because Defendant’s argument is a routine

constitutional challenge, i.e., that if the CPPA is enforced in the manner that Plaintiff seeks to

enforce it, Defendant’s First Amendment rights will be violated.

       The latter argument also fails. Plaintiff proposes that a company (i) cannot speak about

its own philosophy, (ii) on the “about us” page of its own website, unless (iii) it meets the

standards that are not published and are different from any existing governmental standards.

Such a sweeping limitation on speech cannot be imposed under the auspices of a mere allegation

that the statements are “misleading.”

       As explained in Defendant’s Motion, the Supreme Court has in various contexts provided

constitutional protections even for speech that is potentially misleading. Mot. at 14 (citing Gertz

v. Robert Welch, Inc., 418 U.S. 323, 340 (1974); Time, Inc. v. Hill, 385 U.S. 374, 387 (1967).

Plaintiff brushes these cases aside as being in the defamation context and therefore “antithetical”

(Opp. at 14) but misunderstands their relevance. The Supreme Court in those cases identified the

potential chilling effect on desirable speech as a reason to extend First Amendment protection

even to potentially misleading speech. See Nike, Inc. v. Kasky, 539 U.S. 654, 664, (2003)

(Stevens, J. concurring) (“The interest in protecting [knowledgeable persons participating in

debates] from the chilling effect of the prospect of expensive litigation is therefore also a matter

of great importance.”) (Stevens, J. concurring). The same chilling effect is at play here, and the

same protection should be extended. Mot. at 15.

       In fact, the D.C. Circuit has already applied Central Hudson to potentially misleading

commercial speech in the context of health claims about dietary supplements. See Pearson v.

Shalala, 164 F.3d 650 (D.C. Cir. 1999) (“Under Central Hudson, we are obliged to evaluate a




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government scheme to regulate potentially misleading commercial speech by applying a three-

part test.”) In that case, the Court of Appeals rejected an FDA rule that would have banned

health claims on dietary supplements that were not supported by “significant scientific

evidence,” in favor of a disclaimer-based regime, because there was no reasonable fit between

the government’s interest and the steps it had taken to advance them. Id. at 655. See also

Kimberly-Clark Corp. v. D.C., 286 F. Supp. 3d 128, 144 (D.C. Cir. 2017) (applying Central

Hudson to allegation that wet wipe products were falsely advertised as “flushable” because

“potentially misleading speech, like other commercial speech, is still subject to Central

Hudson.”).

       Accordingly, the proposed limitation must satisfy Central Hudson or, at a bare minimum,

Zauderer. Plaintiff has declined to articulate any argument as to how either of those tests is

satisfied, and accordingly Plaintiff has failed to carry its burden to show why the proposed

limitation does not violate Garden of Life’s First Amendment right to freedom of speech.

III.   The Complaint Should Be Dismissed Under The Doctrine Of Primary Jurisdiction.

       Plaintiff has not challenged the portion of Defendant’s motion setting out the extensive

regulatory framework that governs the presence of the contaminants that are the subject of the

Complaint in the food supply. Opp. at 20-24 (conceding that the substances in questions are

regulated by the FDA and FTC). More than that, Plaintiff specifically concedes that the

permissible levels of the substances alleged in their Complaint are governed by the FDA and

EPA. Opp. at 23 (“Federal agencies have addressed when to be silent on the presence of

toxicants and when to acknowledge the presence of toxicants”); id. at 24 (describing “whether

the levels of contaminants present in D’s Products are allowable” as “an issue Plaintiff

acknowledges has already been determined by federal agencies.”) (emphases added). As a

result, at a minimum, Plaintiff’s claim should be dismissed to the extent it alleges a failure to


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disclose,3 because the Parties agree that disclosure is properly the province of federal agencies,

and Plaintiff now asserts that its case is only about affirmative statements. See Opp. at 23

(“Defendant has not pointed to a single rule or regulation by a federal agency that addresses

when an entity may affirmatively state there are no toxicants when there are.”)

         But furthermore, it is not correct to assert, as Plaintiff does, that the Court can simply rule

on whether the challenged statements are misleading without reference to the safety standards

that have been promulgated by the regulating agencies. Opp. at 23 (“Plaintiff’s Complaint

merely asks the Court to determine whether Defendant has violated a statute dealing with

misleading or false advertising practices”). This is because what Plaintiff alleges in the

Complaint is that Defendant’s statements are misleading because of safety and health concerns

related to the presence of trace amounts of heavy metals, BPA, or pesticides in the Products. The

Complaint is replete with such allegations. See, e.g., Compl. ¶ 26 (products contains substances

that “are extremely dangerous to the fetus); id. ¶ 28 (products “contain toxins and contaminants

that are by their very nature damaging to the fetus); id. ¶¶ 48-68 (cataloguing the alleged

“dangers of heavy metals, lead, cadmium and mercury”); id. ¶¶ 69-73 (cataloguing the alleged

“dangers of BPA”); id. ¶¶ 74-79 (summarizing the alleged “dangers of pesticides”) (all

emphases added). These allegations are supported by citations to purported research articles

from various scientific journals and organizations. Compl. at n.10 - n.26.

         In response, Defendant will argue, inter alia, that there are no safety or health concerns at

the levels of the substances Plaintiff alleges are present in the products. Mot. at 20 (comparing

mercury level of 23 parts per billion alleged in Complaint with FDA guidelines encouraging


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  This is a substantial component of the Complaint. See, e.g., Compl. ¶ 32 (challenging, inter alia, Garden of Life’s
tendency . . . to omit); id. ¶ 96 (alleging that the presense of toxins are not “listed, labeled, or advertised); id. ¶ 116
(alleging, inter alia, misleading “omissions”); ¶ 124 (alleging that Garden of Life advertising “omits facts”); id. ¶
126 (omissions of material fact)


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women who are pregnant to consume fish containing 15 parts per million of mercury up to three

times per week). Defendant will point out that FDA’s conclusions are based on its decades-long

studies of the available scientific literature, that the levels allegedly present in the Products are

below any levels-of-concern identified by FDA, and consequently there are no safety concerns

that would render the challenged statements misleading.

        This means that, in order to determine whether the statements are misleading, the Court

will be asked to determine whether the presence of the alleged levels of contaminants renders the

Products unsafe or unhealthy, as Plaintiff alleges, or whether it does not, as FDA and EPA have

found, and as Defendant will argue. There can be no dispute that the FDA and EPA are better

equipped to determine issues related to safety and disclosures regarding the presence of heavy

metals, BPA, and pesticides in the food supply, because they have already done so. Mot. at 17-

21. In the parlance of the factors for determining primary jurisdiction, the each of these issues

raised is not “within the conventional expertise of judges” but is rather “particularly within the

agency’s discretion [and] requires the exercise of agency expertise.” Allnet Commc’n Serv., Inc.

v. Nat’l Exch. Carrier Ass’n, 965 F.2d 1118, 1120 (D.C. Cir. 1992). Plaintiff is also

conspicuously silent regarding the concomitant risk that, if the court proceeds, there will be

inconsistent rulings, which is particularly acute because Plaintiff has sued at least fourteen

different companies on similar grounds. Mot. at 22.

IV.     CONCLUSION

        This case cannot proceed. Plaintiff Clean Label Project Foundation proposes that a

company (i) cannot speak about its own philosophy, (ii) on the “about us” page of its own

website, unless (iii) it meets the standards that are not published and are different from any

existing governmental standards, which (iv) are unilaterally imposed by an organization that has

not itself been injured by the speech, but nonetheless (v) purports to act as a “private attorney


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general” to impose liability (vi) under a strict liability statute. As detailed above, Plaintiff lacks

Article III standing, unjustifiably seeks to restrict Defendant’s free speech rights, and asks this

Court to supplant the expertise of federal agencies in regulating the Products. Defendant

respectfully requests that the Court dismiss the Complaint with prejudice.



Dated: December 21, 2020                       Respectfully submitted,

                                               /s/ Lori Leskin

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of December, 2020, a true copy of the foregoing was

served on all counsel of record via the Court’s electronic filing system.

                                                                     /s/ Lori Leskin
                                                                     Lori Leskin




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